Case 23-00131-ELG            Doc 31-10 Filed 08/16/23       Entered 08/16/23 10:26:48      Desc
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                            )
In re:                                                      )
                                                            )
               5703 9th, LLC                                )   Chapter 11
                                                            )   Case No. 23-131-ELG
                                     Debtor.                )
                                                            )
                                                            )

 NOTICE OF DEBTOR’S OBJECTION TO PROOF OF CLAIM NO. 2 FILED BY WCP
     FUND I, LLC AS SERVICER FOR U.S. NATIONAL BANK ASSOCIATION

         To:     WCP Fund I LLC as Servicer for U.S. Bank National Association

         PLEASE TAKE NOTICE that 5703 9th, LLC, the above-captioned debtor and debtor in

possession (the “Debtor”), has filed its Objection to Proof of Claim No. 2 Filed by WCP Fund I

LLC as servicer for U.S. National Bank Association (the “Objection”) with the United States

Bankruptcy Court for the District of Columbia (the “Court”). The Objection seeks the disallowance

in part of the claim asserted by you in this Chapter 11 case.


         PLEASE TAKE FURTHER NOTICE that you are required to file a written response to

the Objection within 30 days of the date of service of this notice upon you. At the same time, you

must also serve a copy of the response upon the undersigned counsel for the Debtor. If you fail to

timely file a written response to the Objection, the Court may treat the objection as conceded and

the Court may enter an order without holding a hearing disallowing the claim in whole or in part

as set forth in the Objection to claim.




Brent C. Strickland, Esquire (Bar No. 452880)
Whiteford, Taylor & Preston L.L.P.
111 Rockville Pike, Suite 800
Rockville, Maryland 20850
Phone: (410) 347-9402
Facsimile: (410) 223-4302
Email: bstrickland@wtplaw.com
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       PLEASE TAKE FURTHER NOTICE that a hearing on the Objection may be held

before the Honorable Elizabeth L. Gunn at the United States Bankruptcy Court for the District of

Columba, 333 Constitution Ave NW, Washington, DC 20001, at a date and time to be determined.

Should the Court schedule a hearing on the Objection, separate notice of same will be provided.


       PLEASE TAKE FURTHER NOTICE that parties-in-interest with questions regarding

the subject of this Notice may contact Brent C. Strickland by mail (Whiteford, Taylor & Preston

L.L.P., 111 Rockville Pike, Suite 800, Rockville, MD 20850); telephone (410-347-9402); or by

e-mail (bstrickland@whitefordlaw.com).


Dated: August 16, 2023                      Respectfully submitted,


                                            /s/ Brent C. Strickland
                                            WHITEFORD, TAYLOR & PRESTON L.L.P.
                                            Brent C. Strickland, Esquire (Bar No. 452880)
                                            111 Rockville Pike, Suite 800
                                            Rockville, Maryland 20850
                                            Phone: (410) 347-9402
                                            Facsimile: (410) 223-4302
                                            Email: bstrickland@whitefordlaw.com

                                            Counsel for the Debtor and Debtor-in-Possession




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                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 16, 2023, I served a copy of the foregoing via CM/ECF, via

email, and/or by first class United States Mail, postage prepaid, on all parties listed in attached

Service List, including counsel for WCP Fund I LLC as servicer for U.S. Bank National

Association.


                                                /s/ Brent C. Strickland
                                                Brent C. Strickland




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